






NO. 07-03-0271-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



MAY 10, 2005



______________________________



STEVEN CHARLES POWELL, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE


_________________________________



FROM THE 64TH DISTRICT COURT OF SWISHER COUNTY;



NO. A 2805-9403; HONORABLE ED SELF, JUDGE


_______________________________



Before QUINN and REAVIS and CAMPBELL, JJ.

OPINION


	Appellant Steven Charles Powell brings this appeal challenging a judgment revoking
his community supervision and imposing his original sentence of ten years confinement and
a $1,000 fine.   We will affirm the judgment.

	In March 1994 appellant was charged by indictment with the felony offense of sexual
assault.  The indictment was returned by a grand jury convened by the 64th District Court
of Swisher County, the Honorable Jack Miller presiding.  In July 1994 appellant pled guilty
as part of a plea agreement.  Judge Miller imposed sentence in accordance with the
agreement at ten years confinement and a $1,000 fine, probated for five years conditioned
on appellant's compliance with terms set by the court. 

	In June 1998 the State filed a motion to revoke alleging seven violations of the terms
and conditions of appellant's probation. Appellant pled true to six of the seven allegations
at an October 1998 hearing on the motion.  The court continued appellant on probation,
adding three years to the term. (1)  

	The State filed a second motion to revoke in the 64th District Court in January 2002. 
This motion alleged six violations of his probation conditions.  In March 2002 appellant pled
true to a part of the State's allegation he failed to report to his probation officer.  The trial
court found the State's allegations true and again continued appellant on probation,
extending the community supervision two years, for a total of ten years from the original
sentence.  The judgment waived appellant's "community service hours in the amount of 285
hours" and the crime stoppers payment.  

	The State filed its third motion to revoke in March 2003 alleging appellant violated
four of the conditions of his probation.  The Honorable Robert Kinkaid had succeeded
Judge Miller as judge of the 64th District Court.  Because Judge Kinkaid had previously
participated as a prosecutor in the case he was disqualified and appellant filed a pro se
request "to have Judge Kinkaid removed from my case," on April 28, 2003.  A few days
later Judge Kinkaid signed a order appointing attorney Peter Clarke to represent appellant
in the revocation proceeding.  Judge Kinkaid took no other action in the case until he
appointed appellant's appellate counsel after the judgment of revocation.

	The revocation proceeding was first called for a hearing before the Honorable Ed
Self, judge of the 242nd District Court of Swisher County, on May 12, 2003.  At that hearing
appellant requested his objection to Judge Kinkaid be referred to the regional administrative
judge for assignment of another judge but did not question the jurisdiction of the court.  The
only objection to Judge Self's participation was: "I [defense counsel] am familiar with the
agreement the two courts [64th and 242nd] have on that.  . . .  Mr. Powell is basically
objecting to that."  The contents of any agreement between the judges of those courts is
not clear from the record.  Counsel also sought a continuance because he did not become
aware of his appointment on the revocation proceeding until just before leaving his office
on vacation and the revocation hearing began shortly after his return.  Judge Self overruled
the request for assignment of a judge by the regional administrative judge but granted a
continuance until May 28, 2003. 

	When the hearing reconvened May 28, 2003, appellant pled true and filed a
stipulation of evidence in which he admitted to three of the allegations in the State's motion. 
 The caption on the stipulation recited it was filed in the 242nd District Court.  Judge Self
found each of the allegations in the State's petition true (2) and sentenced appellant to ten
years confinement and a $1,000 fine.  The judgment recites it was issued in the 64th
District Court, Judge Self presiding.  The commitment recites it was based on a judgment
of the 64th District Court.  Acting pro se, appellant filed a notice of appeal.  Judge Kinkaid
appointed appellant's current counsel to represent him on appeal June 3, 2003.  On June
11, 2003, Judge Self signed a certificate of appellant's right to appeal from the revocation
only. This document was captioned in the 242nd District Court.

	Appellant's appellate counsel filed a motion for new trial in the 242nd District Court
alleging trial counsel failed to properly present appellant's request to recuse "the 64th
District Court judge and its consequent effect mandating that no exchange of bench could
occur to the Honorable Ed Self," that the "underlying" charges (3) have been dismissed, trial
counsel's error harmed appellant, and the judgment was void.  Judge Self's order
overruling the motion for new trial is also captioned as occurring in the 242nd District Court. 

	Appellant's brief on appeal advances three points of error, (1) whether the trial court
lacked jurisdiction, (2) whether it erred in denying appellant's motion for new trial, and (3)
whether appellant was denied reasonably effective assistance of counsel.  

	Appellant first argues the trial court lacked jurisdiction over the proceeding because
Judge Kinkaid was disqualified and had no authority to transfer the case to the 242nd
District Court, and that the case was transferred without a written order as required by local
rule.  It is undisputed Judge Kinkaid was disqualified to hear the motion to revoke.  Tex.
Const. art. V, § 11;  Tex. Code. Crim. Proc. Ann. art. 30.01 (Vernon Supp. 2004).  Even
assuming that Judge Kinkaid also would have been disqualified from taking the action of
transferring the case, see Koll v. State, 157 S.W.2d 377, 379 (Tex.Crim.App. 1941), but
see Tex. Govt. Code Ann. § 24.303(b) (Vernon 2004) (directing disqualified judge of some
district courts to transfer case to another district court in the same county), we do not agree
that Judge Kinkaid did so.

	Appellant's position the case was transferred to the 242nd District Court appears to
be based on the fact Judge Self is the judge of that court.  But, while the record is not
entirely consistent, we conclude the case was tried by Judge Self in the 64th District Court
under an exchange of benches.  Section 24.303(b) and (c) of the Government Code
expressly provide that in the event of the disqualification of a district judge, any other
district judge of the county may hold court for him.  Tex. Govt. Code Ann. § 24.303(c)
(Vernon 2004). (4)  

	That the case was tried in the 64th District Court is established by the judgment from
which appellant brings this appeal, which recites it was issued by the 64th District Court. 
The fact that Judge Self was the Judge of the 242nd District Court does not controvert the
recitation in the judgment. See Pendleton v. State, 434 S.W.2d 694, 696-97 (Tex.Crim.App.
1968); Tex. Govt. Code Ann. § 24.303(b) (Vernon 2004).   

	The clerk's record contains some documents indicating the proceeding was heard
in the 242nd District Court, but most of those were filed by appellant.  The caption on the
reporter's record recites the hearing was held in the 242nd District Court, but the clerk's
record reflects the proceeding occurred in the 64th District Court.  

	The record does contain three documents signed by Judge Self indicating the
proceeding occurred in the 242nd District Court.  They are the certificate of appellant's right
to appeal, the order overruling appellant's motion for new trial, and an order directing
payment of appellant's trial counsel.  Viewing the record as a whole leads to the conclusion
these three documents simply were in error to that extent.

	The absence of a written order transferring the case provides additional support for
the conclusion Judge Self heard the case in the 64th District Court under an exchange of
benches rather than by transfer of the case to the 242nd District Court.  As appellant notes,
the local administrative rules for the 64th and 242nd District Courts contain the following
provisions concerning transfers and exchange of benches:

	Rule 1.05. a) Any case may be transferred from one court to the other by
written order of the judge from whom the case is transferred, provided the
judge to whom the case is being transferred consents. Such consent shall be
presumed upon the filing of a transfer order signed by the Judge of the Court
from which the case is being transferred.


	b) The Judges may exchange benches by agreement as needed to promote
judicial efficiency.


Under the local rule, no written order was required for an exchange of benches.  See also
Davila v. State, 651 S.W.2d 797, 799 (Tex.Crim.App. 1983) (citing Pendleton, 434 S.W.2d
694 (no written order required for an exchange of benches)); Tex. Const. Art. V, §11 ("the
District Judges may exchange districts, or hold courts for each other when they may deem
it expedient."); Tex. Govt. Code § 24.303 (Vernon 2004). (5)   

	Appellant's reliance on the civil cases of Johnson v. Pumjani, 56 S.W.3d 670
(Tex.App.-Houston [14th Dist.] 2001, no pet.), In re PG &amp; E Reata Energy, L.P., 4 S.W.3d
897 (Tex.App.-Corpus Christi 1999) (orig. proceeding); and In re Rio Grande Valley Gas
Co., 987 S.W.2d 167 (Tex.App.-Corpus Christi 1999) (orig. proceeding), is misplaced. 
Those cases involve motions to recuse under Rule of Civil Procedure 18a.  We agree with
appellant's observation that Rule 18a can be applied in a criminal proceeding, Arnold v.
State, 853 S.W.2d 543, 544 (Tex.Crim.App. 1993), but we do not agree it trumps the
provisions of Government Code Section 24.303 that expressly address disqualified judges. 
Tex. Gov't Code Ann. §§ 24.303(b), (c).  Even Article 30.02 of the Code of Criminal
Procedure, also expressly applicable to disqualified judges, has not been treated as
precluding an exchange of benches.  See Special Commentary by Hon. John F. Onion, Jr.,
following Art. 30.02 in Tex. Code Crim. Proc. Ann. art. 30.02 (Vernon 1989).  We overrule
appellant's first point.

	Appellant's second point of error asserts the trial court erred in denying his motion
for new trial.  That motion was predicated on appellant's challenge to Judge Self's authority
to hear the revocation proceeding and trial counsel's ineffectiveness in challenging Judge
Self's authority.  Appellant also contends he was entitled to a hearing on the motion to
demonstrate his trial counsel's ineffective representation at the May 12 hearing, at which
he presented his objection to Judge Self's authority to preside over the proceeding, was
not the result of trial strategy.  See Jackson v. State, 877 S.W.2d 768, 771 (Tex.Crim.App.
1994).  Appellant's third point of error argues his trial counsel was ineffective because,
although "counsel raised the issue of the 242nd District Court's inability to sit on the case,
he failed to demonstrate the point by reference to controlling law, or to the record that there
was no order exchanging benches in the case." By our disposition of his first point, we
concluded appellant's premise that the revocation proceeding was heard in the 242nd
District Court is incorrect.  Too, because no order is necessary for an exchange of
benches, Pendleton, 434 S.W.2d at 697, the failure of counsel to point to the absence of
an order was not deficient performance.  Having thus concluded the arguments appellant
now contends trial counsel should have presented at the May 12 hearing are not
meritorious, we cannot agree counsel's performance was deficient.  Jackson, 877 S.W.2d
at 771.  Our disposition of appellant's first point is dispositive also of appellant's remaining
arguments under his second and third points.  We overrule them, and affirm the judgment
of the trial court.



						James T. Campbell

						         Justice



							

Do not publish.
1.                
 
2.                
      '   
3.               
     '     
4.             
§§                

5.               
      "          
 "           
              


